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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

MILTON GREEN,                                  )
                                               )
           Plaintiff,                          )
                                               )
      v.                                       )          No. 4:19 CV 1711 DDN
                                               )
CITY OF ST. LOUIS, MISSOURI, and               )
OFFICER CHRISTOPHER TANNER,                    )
in his individual capacity,                    )
                                               )
           Defendants.                         )


                 SECOND AMENDED CASE MANAGEMENT ORDER
      IT IS HEREBY ORDERED that the joint motion to amend the Case Management
Order (Doc. 44) is sustained as follows.


                                  I. SCHEDULING PLAN
1.    This case has been assigned to Track 2 (Standard).
2.    DISCLOSURE AND DISCOVERY. Disclosure and discovery must proceed in
      the following manner:

      (a)       PLAINTIFF EXPERTS. Plaintiff must disclose all expert witnesses and
                provide the reports required by Rule 26(a)(2), Fed.R.Civ.P., no later than
                May 21, 2021, and have such expert witnesses available for deposition no
                later than June 18, 2021.

      (b)       DEFENDANT EXPERTS. Defendant must disclose all expert witnesses
                and provide the reports required by Rule 26(a)(2), Fed.R.Civ.P., no later than
                July 23, 2021, and have such expert witnesses available for deposition no
                later than August 20, 2021.

                PLAINTIFF REBUTTAL EXPERTS. Plaintiff must disclose all rebuttal
                expert witnesses and provide the reports required by Rule 26(a)(2),
                Fed.R.Civ.P., no later than September 17, 2021, and have such expert
                witnesses available for deposition no later than October 8, 2021.

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            DEFENDANT REBUTTAL EXPERTS. Defendant must disclose all
            expert witnesses and provide the reports required by Rule 26(a)(2),
            Fed.R.Civ.P., no later than November 12, 2021, and have such expert
            witnesses available for deposition no later than December 10, 2021.

      (c)   RULE 35 EXAMS. Requests for physical or mental examinations of the
            parties pursuant to Rule 35 Fed.R.Civ.P. be made no later than March 26,
            2021 and be completed no later than April 23, 2021.

      (d)   DISCOVERY COMPLETION. The parties must complete all non-expert
            discovery in this case from parties and non-parties no later than October 8,
            2021.

3.    ADR. THIS CASE IS HEREBY REFERRED to alternative dispute resolution
      (ADR) as of this date. The ADR reference shall terminate on April 30, 2021.

4.    DISPOSITIVE MOTIONS AND EXPERT OPINION MOTIONS. Any
      motion(s) to dismiss, for summary judgment, or for judgment on the pleadings, and
      any expert opinion motion(s) must be filed no later than October 29, 2021.
      Opposition briefs must be filed no later than December 1, 2021, and any reply brief
      may be filed no later than December 15, 2021. The parties must submit a
      courtesy paper copy of their motions, memoranda, and exhibits directly to
      chambers. A hearing on any then pending motion, including any dispositive
      and expert opinion motion(s) is hereby set for December 22, 2021, at 10:00 a.m.

5.    FINAL PRETRIAL CONFERENCE. The final pretrial conference is set for
      April 15, 2022, at 10:00 a.m.

6.    TRIAL DATE. This case is set for a JURY TRIAL on April 25, 2022, at 9:00
      a.m. Trial is expected to last 4-5 days.

7.    Failure to comply with any part of this order may result in the imposition of
      sanctions.




                                               /s/ David D. Noce      k
                                        UNITED STATES MAGISTRATE JUDGE


Signed on November 2, 2020.

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